Case 1:14-cv-23869-JJO Document 161 Entered on FLSD Docket 03/28/2017 Page 1 of 1



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 14-23869-CIV-O'SULLIVAN
                                              [CONSENT]
   MARCO ALONSO, et al.,
       Plaintiffs,
   v.

   OCEAN CC, LLC, a Florida limited
   liability company, NKS OCEAN, LLC,
   a Florida Limited Liability Company, and DAVIDE
   GULGLIELMINI, individually,
             Defendants.

   ---------------------------·'
                      DEFAULT FINAL JUDGMENT AGAINST NKS OCEAN, LLC

           THIS CAUSE came before the Court upon Motion for Entry of Default Final Judgment

   and Incorporated Memorandum of Law (DE# 156, 1/11/17) against defendant NKS Ocean,

   LLC. For the reasons expressed in this Court's separate Order, it is

           ORDERED AND ADJUDGED that judgment is hereby entered in favor of the plaintiffs

   and against defendant NKS Ocean, LLC. The plaintiffs shall recover from defendant NKS

   Ocean, LLC the total sum of $811,499.32 in damages, plus post-judgment interest calculated at

   the statutory rate. It is further

           ORDERED AND ADJUDGED that judgment is hereby entered in favor of the plaintiffs

   and against defendant NKS Ocean, LLC for $43,785.00 in attorney's fees and $565.00 in costs

   plus post-judgment interest calculated at the statutory rate.

           DONE AND ORDERED in Chambers at Miami,            lorid this :Jfday of March, 2017.




                                                 JOH               LLIVAN
                                                 UNIT              ES MAGISTRATE JUDGE
   Copies to:
   All counsel of record

   Copies mailed by Chambers to:
    Karim Masri
   Registered Agent
   1691 Michigan Ave Ste 325
   Miami Beach, FL 33139
